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 6   Oliver Hotham

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   AUTOMATTIC INC. and                                 Case No. 3:13-cv-5413
     OLIVER HOTHAM,
12                                                       NOTICE OF APPEARANCE
                                  Plaintiffs,
13
            v.
14
     NICK STEINER,
15
                                  Defendant.
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                                 NOTICE OF APPEARANCE / CASE NO. 3:13-CV-5413
                Case 4:13-cv-05413-PJH Document 4 Filed 11/21/13 Page 2 of 2



 1           Please take notice that Joseph C. Gratz of the law firm Durie Tangri LLP hereby enters his

 2   appearance as counsel of record for Plaintiffs Automattic Inc. and Oliver Hotham (“Plaintiffs”) and

 3   requests that any correspondence, motions, notices, and pleadings in this action directed to Plaintiffs also

 4   be served upon Joseph C. Gratz at the following address:

 5           Joseph C. Gratz
             Durie Tangri LLP
 6           217 Leidesdorff Street
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 7
             (415) 362-6666
 8           Email: jgratz@durietangri.com

 9           Please add the name of Mr. Gratz to all service lists in this matter, including the e-filing service
10   list.
11

12   Dated: November 21, 2013                                        DURIE TANGRI LLP
13
                                                               By:
14                                                                             JOSEPH C. GRATZ
15                                                                   Attorney for Plaintiffs
                                                                     Automattic Inc. and
16                                                                   Oliver Hotham
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